Case 9:20-cv-82236-AMC Document 72 Entered on FLSD Docket 11/09/2021 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 PALM BEACH DIVISION
                   Case No. 20-cv-9:20-82236-CIV-CANNON/REINHART



   UNITED STATES OF AMERICA,                       )
                                                   )
             Plaintiff,                            )
                                                   )
             v.                                    )
                                                   )
   EVELYN SOLOMON,                                 )
                                                   )
             Defendant.                            )
                                                   )

                  UNITED STATES’ MOTION TO VACATE JUDGMENT

         The United States moves the Court to vacate the judgment entered against

  Defendant Evelyn Solomon because unresolved issues must be decided before

  judgment can be entered. The defendant was not given the opportunity to present

  evidence to support or disprove all the affirmative defenses she asserted in her answer.

  The United States fears this is reversible error, which will result in a remand from the

  Eleventh Circuit if it is not rectified beforehand. The United States requests that the

  parties be allowed one week to file summary judgment motions on the remaining

  affirmative defenses, with responsive briefing following the schedule in the local rules.

                                 MEMORANDUM OF LAW

                                         Jurisdiction

         A motion to vacate a judgment under Rule 60 must be filed within a reasonable

  time after entry of the judgment. Fed. R. Civ. P. 60(c)(1). The Court entered judgment on



                                               1
Case 9:20-cv-82236-AMC Document 72 Entered on FLSD Docket 11/09/2021 Page 2 of 5




  November 1, 2021. ECF No. 67. Fewer than two weeks have passed. As a result, this

  motion is timely. Although Solomon filed a notice of appeal on November 2, 2021 (ECF

  No. 68), this Court has jurisdiction, and the appeal is suspended until this Court

  resolves this motion. See Fed. R. App. P. 4(a)(4)(A)(iv) (“If a party files in the district

  court any of the following motions under the Federal Rules of Civil Procedure—and

  does so within the time allowed by those rules—the time to file an appeal runs for all

  parties from the entry of the order disposing of the last such remaining motion: . . . (vi)

  for relief under Rule 60 if the motion is filed no later than 28 days after the judgment is

  entered”); see also Patterson v. Anderson, 586 Fed. Appx. 657, 663 (6th Cir. 2014) (“[W]hen

  a party has filed a timely motion to alter or amend a judgment after a notice of appeal

  has been filed, the district court still retains jurisdiction to consider the motion.”)

  (quoting authority omitted).

                                       Procedural History

         The United States filed its complaint alleging that Solomon owes the United

  States for penalties asserted under 31 U.S.C. § 5321. ECF No. 1. Solomon filed her

  answer on February 1, 2021, and in it asserted five affirmative defenses. ECF No. 9. On

  the same day, Solomon moved for partial summary judgment on her 1st and 4th

  affirmative defenses: statute of limitations and proper calculation of the FBAR penalty.

  ECF No. 11. The United States responded to Solomon’s motion and cross moved for

  summary judgment on the same two issues. ECF No. 18. Solomon filed a response on

  March 16, 2021. ECF No. 32. Briefing on these two issues concluded on March 23, 2021,




                                                 2
Case 9:20-cv-82236-AMC Document 72 Entered on FLSD Docket 11/09/2021 Page 3 of 5




  when the United States replied. ECF No. 37. The Court heard oral argument on the

  motions on May 5, 2021.

         While the parties were briefing the motions for partial summary judgment, the

  Court entered a scheduling order that set a discovery deadline of August 10, 2021, and a

  pretrial motion deadline of September 24, 2021. ECF No. 24. On Solomon’s unopposed

  motion at ECF No. 58, the Court reset the discovery deadline to September 15, 2021, and

  the summary judgment motion deadline to November 1, 2021. ECF No. 60.

         On October 27, 2021, the Court issued a decision on the motions for partial

  summary judgment. ECF No. 64. The Court entered final judgment on November 1,

  2021, which was the deadline for the parties to move for summary judgment. See ECF

  Nos. 60 and 67.

                                           Argument

         A court may vacate a judgment under Rule 59(e) or Rule 60(b) when there is a

  “need to correct clear error or manifest injustice.” Socialist Workers Party v. Leahy, 957 F.

  Supp. 1262, 1263 (S.D. Fla. 1997); Scheck v. Burger King Corp., 798 F. Supp. 692, 693 (S.D.

  Fla. 1992). Here, there is clear error because the parties were not given notice, as

  required by Rule 56, to produce all their evidence before the Court decided summary

  judgment. See Fed R. Civ. P. 56(f)(3); Massey v. Cong. Life Ins. Co., 116 F.3d 1414, 1417

  (11th Cir. 1997). The result is that Solomon was not given an opportunity to present

  evidence on all her affirmative defenses. The parties only briefed the two that Solomon

  presented in her motion for partial summary judgment.




                                                3
Case 9:20-cv-82236-AMC Document 72 Entered on FLSD Docket 11/09/2021 Page 4 of 5




         To be clear, the United States’ position is that the Court was correct to deny

  Solomon’s request to file an untimely brief on the statute of limitations issue. See ECF

  Nos. 61, 62, 63, and 66. Indeed, there is no question that the parties had the chance to

  fully brief Solomon’s first and fourth affirmative defenses. The Court need not hear

  arguments “which could, and should, have been made previously.” McGuire v. Ryland

  Grp., Inc., 497 F. Supp. 2d 1356, 1358 (M.D. Fla. 2007) quoting Scelta v. Delicatessen

  Support Servs., Inc., 89 F. Supp. 2d 1311, 1320 (M.D. Fla. 2000). Still, the Court’s favorable

  decision on those issues is not enough to grant summary judgment for the United

  States. Solomon has not presented evidence or argument on her remaining affirmative

  defenses. Nor was she given the notice required under Rule 56. Fed. R. Civ. P. 56(f).

         The United States is confident that it can prove its case in a complete motion for

  summary judgment. And it is prepared to file one in short order. Indeed, Solomon

  should also be prepared because the deadline to do so was the same day that the Court

  entered the final judgment. See ECF Nos. 60 and 67.

                        CONCLUSION AND RELIEF REQUESTED

         The United States asks the Court to vacate the judgment at ECF No. 67 and to

  establish a briefing schedule for the parties to present their motions for summary

  judgment addressing Solomon’s second, third, and fifth affirmative defenses. See ECF

  No. 9 at 4–5. The Court should not allow further argument on Solomon’s first and

  fourth affirmative defenses because those matters have been fully briefed and decided

  by the Court. The United States requests that the parties be allowed one week to file




                                                4
Case 9:20-cv-82236-AMC Document 72 Entered on FLSD Docket 11/09/2021 Page 5 of 5




  summary judgment motions on the remaining affirmative defenses, with responsive

  briefing following the schedule in the local rules.

                    CERTIFICATION OF CONFERRAL OF COUNSEL

         Counsel for the parties conferred via email. Solomon objects to the relief sought.


  Date: November 9, 2021
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